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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

                                            §
BEE CUPS LLC,                               §
                                            §
      Plaintiff,                            §
                                            §
v.                                          §    Case No. 4:25-cv-246-JDK-JDL
                                            §
THE INDIVIDUALS, BUSINESS                   §
ENTITIES, and UNINCORPORATED                §
ASSOCIATIONS IDENTIFIED ON                  §
EXHIBIT 1,                                  §
                                            §
      Defendants.                           §

                                        ORDER

       Before the Court is Plaintiff Bee Cups’s motion to amend the asset freeze order

 entered on April 1, 2025, and to enter a preliminary injunction against all Defendants

 who have not responded. Docket No. 41. For the reasons stated below, the motion is

 GRANTED-IN-PART and DENIED-IN-PART.

                                           I.

       Pursuant to the parties’ agreement, the asset restraint of Defendant Light in

 the Box Limited (200) is AMENDED to $100,000 total.

       But the Court needs more information to determine whether a $20,000 or

 $40,000 asset restraint for Defendants appreciarel (191), dinburnent (195),

 indsorart (199), and ocrurence (206) is appropriate. After a plaintiff has met its

 burden of showing an asset freeze is necessary, the burden shifts to the defendant “to

 show what, if any, assets are exempt from the freeze on the ground that they are not

 linked to the profits of the allegedly infringing activity.” Prep Sols., Ltd. v. Leicht,


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2022 WL 1812298, at *2 (E.D. Tex. June 2, 2022) (collecting cases); see also 17 U.S.C.

§ 504(b) (providing disgorgement, except that “the infringer is required to prove his

or her deductible expenses and the elements of profit attributable to factors other

than the copyrighted work”). Plaintiff has notified the Court that these Defendants

seek to limit the restraint to $20,000, but Defendants have not explained why.

      Accordingly,    the    Court    ORDERS          Defendants      appreciarel (191),

dinburnent (195), indsorart (199), and ocrurence (206) to show which assets, if any,

should be exempt from the freeze order by May 14, 2025. Failure to do so will result

in the asset freeze being amended to $40,000 total.

                                        II.

      Plaintiff also asks the Court to grant its preliminary injunction motion against

“the remaining Defendants in this matter, who have neither appeared, nor filed any

response in opposition to” the motion. Docket No. 41 at 2. But as the Court has

already noted, a preliminary injunction may not be entered absent notice to the

adverse parties.   FED. R. CIV. P. 65(a)(1); see also Harris Cnty v. CarMax Auto

Superstores, Inc., 177 F.3d 306, 326 (5th Cir. 1999) (noting that “compliance with

Rule 65(a)(1) is mandatory”). Currently, there is no indication in the record that

Plaintiff has served any of the Defendants with process. At the May 2, 2025 hearing,

Plaintiff’s counsel stated that he had emailed the relevant documents to all

Defendants’ email addresses on April 29, 2025.         And several Defendants have

appeared, indicating that Plaintiff’s email reached at least some of them. But this

alone is insufficient to enjoin hundreds of Defendants about whom the Court knows

next to nothing. See Buckler v. Austin, 2023 WL 2557360, at *2 (W.D. Tex. Jan. 20,


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2023) (denying a preliminary injunction when there was “no hard proof that

Defendants received the motion”). The Court therefore DENIES Plaintiff’s motion

for a preliminary injunction without prejudice to refiling once the notice requirement

is satisfied.

         So ORDERED and SIGNED this 9th day of May, 2025.



                                              ___________________________________
                                              JEREMY D. KERNODLE
                                              UNITED STATES DISTRICT JUDGE




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